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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS


 In re: PARAQUAT PRODUCTS                     Case No. 3:21-md-3004-NJR
 LIABILITY LITIGATION
                                              MDL No. 3004
 This Document Relates to All Cases




                      CASE MANAGEMENT ORDER NO. 4

ROSENSTENGEL, Chief Judge:

       The undersigned issues this fourth Case Management Order to appoint Randi S.

Ellis as special master.

                             Appointment of Special Master

       Plaintiffs in these cases allege injuries, including the development of Parkinson’s

disease, caused by exposure to the herbicide paraquat. Currently, more than 155 cases are

pending that were filed in this Court, have been transferred to this Court, or are subject

to a Conditional Transfer Order to this Court. There are additional related cases currently

pending in state-court dockets in California and Illinois. The Court expects many addi-

tional cases to be filed over the next several months.

       Because of the quantity and complexity of these related cases and the common

interest in a fair and expeditious resolution, the Court has determined that it would be

beneficial to appoint a special master to assist the Court. FED. R. CIV. P. 53. As required

by Federal Rule of Civil Procedure 53(b)(1), the parties were given notice and an oppor-

tunity to be heard regarding the Court’s intention. (CMO No. 3, Doc. 170.) No objections

were made.

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       The Court thus appoints Randi S. Ellis to serve as special master. Ms. Ellis is well-

qualified to carry out the responsibilities of this position.

                    Duties and Responsibilities of the Special Master

       The special master shall perform any and all duties assigned to her by the Court

(as well as any ancillary acts required to fully carry out those duties) as permitted by both

the Federal Rules of Civil Procedure and Article III of the Constitution. The Court directs

the special master to proceed with all reasonable diligence in carrying out her duties as

assigned by the Court.

       As an initial matter, the Court directs the special master to meet and confer with

plaintiffs’ lead counsel and defendants, individually or together, and to make reports and

recommendations, including proposed orders, regarding the following:

       1. A reasonable schedule for discovery and key motions consistent with
          the first trial date set for November 15, 2022;

       2. How best to establish reasonable discovery protocols including proce-
          dures for exchanging materials, depositions, and expert discovery;

       3. How best to establish, maintain, and update a database of persons who possess
          claims related to those in this MDL;

       4. How best to establish, maintain, and update a database of plaintiffs who have
          filed related claims in federal or state court;

       5. A reasonable methodology for the selection of plaintiffs whose cases shall be
          set for trial on November 15, 2022;

       6. How best for this Court to coordinate with related state court proceedings, e.g.,
          Paraquat Cases, JCCP No. 5031 (Contra Costa Cty. Sup. Ct.), to avoid duplicative
          discovery and related delay; and




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       7. A reasonable framework for plaintiffs’ lead counsel to periodically determine
          and submit their respective common benefit time and related expenses for re-
          view and approval.

                      Procedure for Reports and Recommendations

       The special master shall file any report and recommendation with the Court via

the Case Management/Electronic Case Filing (“CM/ECF”) system, which shall fulfill the

special master’s duties regarding service on the parties. A party may file objections to—

or a motion to adopt or modify—the master’s report and recommendations no later than

10 days after service. FED. R. CIV. P. 53(f)(2). Responses to any objections or motions shall

be filed no later than 10 days after service. The Court may modify these procedures as

needed on a case-by-case basis.

                                Ex Parte Communications

       The special master may communicate ex parte with the Court and with any party’s

counsel for the purpose of fulfilling her role and duties.

                                   Reports to the Court

       The special master shall make periodic reports to the Court regarding the progress

in executing her role and duties. At a minimum, such reports shall be made monthly.

                                          Records

       The special master shall maintain billing records of the time spent on this matter,

with descriptions of the activities and matters worked on, which shall be submitted to

the parties on a periodic basis for review and payment.

                                    Fees and Expenses

       The special master shall be paid her standard hourly rate and reimbursed for


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reasonable out-of-pocket expenses in connection with the discharge of her duties. Plain-

tiffs’ leadership council shall pay 50% of the master’s fees and expenses. Defendants

jointly shall pay the other 50%.



       IT IS SO ORDERED.

       DATED: July 14, 2021

                                               ___________________________
                                               NANCY J. ROSENSTENGEL
                                               Chief U.S. District Judge




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